          Case 2:22-cr-00031-APG-BNW Document 37 Filed 03/07/22 Page 1 of 3



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 6
                               UNITED STATES DISTRICT COURT
 7                                  DISTRICT OF NEVADA

 8 UNITED STATES OF AMERICA,                       2:22-CR-031-APG-BNW

 9                Plaintiff,                       Preliminary Order of Forfeiture

10         v.

11 JONATHAN ROBERT RISSE-SANTOS,

12                Defendant.

13         This Court finds Jonathan Robert Risse-Santos pled guilty to Counts One and Two

14 of a Two-Count Criminal Information charging him in Count One with attempt receipt of

15 child pornography in violation of 18 U.S.C. § 2522A(a)(2) and in Count Two with

16 possession of child pornography in violation of 18 U.S.C. § 2252A(a)(5)(B). Criminal

17 Information, ECF No. __; Change of Plea, ECF No. __; Plea Agreement, ECF No. __.

18         This Court finds Jonathan Robert Risse-Santos agreed to the forfeiture of the

19 property set forth in the Plea Agreement and the Forfeiture Allegation of the Criminal

20 Information. Criminal Information, ECF No. __; Change of Plea, ECF No. __; Plea

21 Agreement, ECF No. __.

22         This Court finds, pursuant to Fed. R. Crim. P. 32.2(b)(1) and (b)(2), the United

23 States of America has shown the requisite nexus between property set forth in the Plea

24 Agreement and the Forfeiture Allegation of the Criminal Information and the offenses to

25 which Jonathan Robert Risse-Santos pled guilty.

26         The following property is (1) any visual depiction described in 18 U.S.C. § 2252A, or

27 any book, magazine, periodical, film, videotape, or other matter which contains any such

28 visual depiction, which was produced, transported, mailed, shipped or received in violation
           Case 2:22-cr-00031-APG-BNW Document 37 Filed 03/07/22 Page 2 of 3



 1   of 18 U.S.C. § 2252A(a)(5)(B) and (2) any property, real or personal, used or intended to be

 2   used to commit or to promote the commission of 18 U.S.C. § 2252A(a)(2) and

 3   2252A(a)(5)(B) or any property traceable to such property and is subject to forfeiture

 4   pursuant to 18 U.S.C. § 2253(a)(1) and 2253(a)(3):

 5              1. one Motorola cell phone, model: E6 XT-2005DL, IMEI: 35815871151347

 6                    (property).

 7          This Court finds that on the government’s motion, the Court may at any time enter

 8   an order of forfeiture or amend an existing order of forfeiture to include subsequently

 9   located property or substitute property pursuant to Fed. R. Crim. P. 32.2(e) and

10   32.2(b)(2)(C).

11          This Court finds the United States of America is now entitled to, and should, reduce

12   the aforementioned property to the possession of the United States of America.

13          NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND

14   DECREED that the United States of America should seize the aforementioned property.

15          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED all possessory

16   rights, ownership rights, and all rights, titles, and interests of Jonathan Robert Risse-Santos

17   in the aforementioned property are forfeited and are vested in the United States of America

18   and shall be safely held by the United States of America until further order of the Court.

19          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the United States

20   of America shall publish for at least thirty (30) consecutive days on the official internet

21   government forfeiture website, www.forfeiture.gov, notice of this Order, which shall

22   describe the forfeited property, state the time under the applicable statute when a petition

23   contesting the forfeiture must be filed, and state the name and contact information for the

24   government attorney to be served with the petition, pursuant to Fed. R. Crim. P. 32.2(b)(6)

25   and 21 U.S.C. § 853(n)(2). In the alternative, if the value of the property is less than $1,000,

26   the government may instead serve every person reasonably identified as a potential claimant

27   in lieu of publication pursuant to Fed. R. Crim. P. 32.2(b)(6)(C) with Fed. R. Civ. P. Supp.

28   Rule G(4)(a)(i)(A).
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           Case 2:22-cr-00031-APG-BNW Document 37 Filed 03/07/22 Page 3 of 3



 1          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that any individual

 2   or entity who claims an interest in the aforementioned property must file a petition for a

 3   hearing to adjudicate the validity of the petitioner’s alleged interest in the property, which

 4   petition shall be signed by the petitioner under penalty of perjury pursuant to 21 U.S.C. §

 5   853(n)(3) and 28 U.S.C. § 1746, and shall set forth the nature and extent of the petitioner’s

 6   right, title, or interest in the forfeited property and any additional facts supporting the

 7   petitioner’s petition and the relief sought.

 8          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a petition, if any,

 9   must be filed with the Clerk of the Court, 333 Las Vegas Boulevard South, Las Vegas,

10   Nevada 89101, no later than thirty (30) days after the notice is sent or, if direct notice was

11   not sent, no later than sixty (60) days after the first day of the publication on the official

12   internet government forfeiture site, www.forfeiture.gov.

13          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a copy of the

14   petition, if any, shall be served upon the Asset Forfeiture Attorney of the United States

15   Attorney’s Office at the following address at the time of filing:

16                  Daniel D. Hollingsworth
                    Assistant United States Attorney
17                  James A. Blum
                    Assistant United States Attorney
18                  501 Las Vegas Boulevard South, Suite 1100
                    Las Vegas, Nevada 89101.
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20          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the notice

21   described herein need not be published in the event a Declaration of Forfeiture is issued by

22   the appropriate agency following publication of notice of seizure and intent to

23   administratively forfeit the above-described property.

24          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Clerk send

25   copies of this Order to all counsel of record.

26                 March 7
            DATED _______________, 2022.

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                                                    ANDREW P. GORDON
28                                                  UNITED STATES DISTRICT JUDGE
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